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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
TANYA GILL, )
)
Plaintiff, )
) Case No. 12 CV 2963
VS. )
) Honorabie John J. Tharp, Jr.
VILLAGE OF MELROSE PARK, et al. ) Magistrate Judge Sheila M. Finnegan
)
Defendants. )

SWORN AFFIDAVIT OF LEONARD BARTEMIO

I, LEONARD BARTEMIO, being first duly sworn upon oath, do state and depose that J

have personal knowledge of all facts which follow and, if called, I could testify to the following:

I. I am a police officer employed by the Village of Melrose Park.
2. I was working in my capacity as a detective on April 2, 2011.
3. At approximately 11:42 p.m, I responded to a dispatched call of a potential

battery at the I-Bar located at 2010 W. North Avenue in Melrose Park, Illinois.

4, Upon arriving at the scene, I exited my police vehicle and set up a perimeter of
the scene. Melrose Park police officers Vito Migliore, Mike Recinos, Adam Gibson and Dennis
Natale were also at the scene and were interviewing potential witnesses of the alleged battery.

5. ] instructed patrons in the I-Bar parking lot to either enter the I-Bar or leave the
scene immediately. | waited approximately 15 minutes until the I-Bar parking lot was empty. I
then left the scene.

6. { had no verbal or physical contact whatsoever with the alleged victim of the

battery, Ms. Tanya Gill.

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7. I did not observe any interaction between Officer Migliore and Ms. Gill.

Further affiant sayeth not.

BARTEMIO’

SUBSCRIBED and SWORN to before

me thisA?” day of February, 2013.

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NOTARY PUBLIC

OFFICIAL SEAL

MARCIA CUCCI
NOTARY PUBLIC, STATE OF ILLINOIS
My Commission Expires 03/12/2015

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